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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION

 JACKSONVILLE BRANCH OF THE
 NAACP, et al.,

           Plaintiffs,                         Case No.: 3:22-cv-493-MMH-LLL

 v.

 CITY OF JACKSONVILLE, et al.,

       Defendants.
 _______________________________/

                          DEFENDANTS’ REMEDY BRIEF

           Defendants, City of Jacksonville, and Mike Hogan, in his official capacity

 as Duval County Supervisor of Elections (SOE), submit the following pursuant

 to the Court’s direction of July 8, 2022. See Doc. 26. Without waiving any

 arguments in their Response to Plaintiffs’ Motion for Preliminary Injunctive

 Relief, Doc. 41, Defendants detail below an appropriate remedy and associated

 process should the Court rule in favor of Plaintiffs. A proposed Order on

 Defendants’ suggested remedial process is attached as Exhibit A.

      I.      INTRODUCTION

           Even if the Court ultimately orders the City Council to draw new

 districts, any interim remedy and supporting rationale should be different

 from that suggested by Plaintiffs.          Plaintiffs’ remedial rubric sidesteps

 precedent, lacks nuance, and expects unrealistic outcomes. The Court should
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 therefore reject Plaintiffs’ twenty-one day proposal, as well as their supporting

 analysis.

          In the alternative, Defendants propose the following:

    1. The March 2023 elections shall proceed under the district lines laid out

          in Ordinance 2022-01-E.

    2. The City Council, in not less than five months, shall pass new district

          lines, subject to Plaintiffs’ challenge and Court review.

    3. If the Council is unable or otherwise does not pass new lines in the

          mandated time frame, the Court, or another judicially designated body,

          should draw new lines, again subject to party input and judicial review.

    II.      THE COURT SHOULD REJECT PLAINTIFFS’ REMEDY

          It is without dispute that the Council should have the first opportunity

 to remedy any constitutional error in its district lines. Wise v. Lipscomb, 437

 U.S. 535, 540 (1978). Only if the Council is unable or unwilling to do so is the

 Court presented with the “unwelcome obligation of creating an interim plan.”

 Perry v. Perez, 565 U.S. 388, 392 (2012). The Court may do so on its own

 initiative, or appoint some other body for that task, remaining ever mindful of

 the “powerful concerns for comity involved in interfering with” a locality’s

 legislative responsibilities. Page v. Va. State Bd. of Elections, No. 3:13cv678,

 2015 WL 3604029, at *18 (E.D. Va. June 5, 2015); see also Bethune-Hill v. Va.



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 State Bd. of Elections, 368 F. Supp. 3d 872, 873 (E.D. Va. 2019); Diaz v. Silver,

 932 F. Supp. 462, 449 (E.D.N.Y. 1996).

       Plaintiffs’ remedial argument, at its highest level, comports with these

 principles and brooks no opposition from Defendants. Defendants also raise

 no quarrel with other particulars of Plaintiffs’ proffered structure including

 that the Council provide the Court with documentation related to its

 redistricting process not otherwise exempt from disclosure pursuant to

 Florida’s Public Records Law, § 119 et seq., F.S., and that any new plans –

 whether crafted by the Council or other body – be reviewed to ensure

 constitutionality. See, e.g., Covington v. N.C., 267 F. Supp. 3d 664, 668-69

 (M.D.N.C. 2017); Johnson v. Mortham, 926 F. Supp. 1460, 1494 (N.D. Fla.

 1996). Likewise, Defendants understand that the Court, or other line drawing

 entity, may define core criteria to guide its process, while also deemphasizing

 or eliminating factors previously highlighted by the Council. See, e.g., Perry,

 565 U.S. at 393; Covington v. N.C., 283 F. Supp. 3d 410, 431-34 (M.D.N.C.

 2018); Personhuballah v. Alcorn, 155 F. Supp. 3d 552, 561-65 (E.D. Va. 2016).

 Nor do Defendants object to the time-periods Plaintiffs lay out regarding

 challenges they may raise against Defendants’ new plans, the Court’s

 evaluation of the same, or the general process associated with a Court or third-

 party plan. See Doc. 39 at 2-3, 12-13, 15-16; Doc. 39-1 at 2.



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        Defendants do object, however, to Plaintiffs’ twenty-one day time frame

 as unrealistic and unreasonable under the circumstances. Defendants further

 object to Plaintiffs’ suggestion that the Council should be permitted to redraw

 district lines only if it has not been “intransigent” and elections are not

 imminent. Doc. 39 at 3-4. Despite their implication that the Council has

 veered close to intransigence, id. at 3-5, 8-9, 12, Plaintiffs allow that the

 Council should be granted the first opportunity to draw new districts because

 the March 2023 elections can go forward if the SOE knows the district lines by

 December 16, 2022. See Doc. 24-1 at 2. Plaintiffs’ proposal thus subverts a

 core redistricting remedial principle (i.e., legislatures should have the first

 opportunity to craft new lines) to fact sensitive exceptions (i.e., an intransigent

 legislature or pending elections), while also evading case law undermining

 their position. 1

        Plaintiffs have done nothing to rebut the well-settled presumption of the

 good faith of the legislature, nor have they established the Council’s

 intransigence. See Doc. 39 at 3-5, 8-9, 12. See also generally Abbott v. Perez,

 138 S. Ct. 2305, 2324 (2018) (“the good faith of the legislature must be



 1
  Plaintiffs’ proffered time line is also incomplete, in that it does not outline what the Court
 should do if, after reviewing the Council’s proposed plan, the Plaintiffs present an alternative
 plan. Doc. 39 at 12-13. Plaintiffs’ time line also streamlines any consideration of whether
 the Court or some other party should draw new districts if the Council fails or is unable to do
 so, and the review process associated with the same. Id. at 3, 3-16. Below, Defendants
 provide alternative timelines that include these gaps. See infra Tables 1 and 2.

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 presumed”); League of United Latin Am. Citizens v. Abbott, No. 3:21-CV-259-

 DCG-JVB, 2022 WL 1410729, at *26 (W.D. Tex. May 4, 2022) (“The legislature

 is entitled to a presumption that it redistricts in good faith.”); Harris v.

 McCrory 159 F. Supp. 3d 600, 604-05 (M.D.N.C. 2016) (Court “makes no

 finding as to whether individual legislators acted in good faith in the

 redistricting process, as no such finding is required.”); Smith v. Beasley, 946 F.

 Supp. 1174, 1208 (D.S.C. 1996) (“We do not question the good faith of the

 legislature in adopting the . . . Plan . . . .”). Contrary to Plaintiffs’ intimation,

 the Council’s redistricting process bears no comparison to the legislative bodies

 in Plaintiffs’ referenced cases. Doc. 39 at 3-4, 5; Hayes v. La., 936 F. Supp. 360,

 371-72 (W.D. La. 1996) (legislature submitted to court three different plans in

 four years, all of which the court deemed unconstitutional); Terrazas v. Slagle,

 789 F. Supp. 828, 830, 831 (W.D. Tex. 1992) (convoluted procedural history and

 associated “shenanigans” left “Court with no real hope that further deference

 to the legislature” was warranted). See also e.g., Gonidakis v. Larose, No. 2:22-

 cv-0733, 2022 WL 1175617, at *1 (S.D. Ohio April 20, 2022) (state legislature

 failed to select map despite election pending in two weeks and early voting

 underway); Covington, 283 F. Supp. 3d at 410 (litigation covered seven year

 time span, and included at least two different reviews by U.S. Supreme Court).

 Compare Whitford v. Gill, No. 15-cv-421-bbc, 2017 WL 383360, at *1 (W.D. Wis.

 Jan. 27, 2017) (no reason to “abrogate[e] . . . fundamental principle” of

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 permitting legislature opportunity to redeem district lines in absence of

 evidence of malice or intransigence).

        Here, unlike the cases on which Plaintiffs rely, the Council has not

 repeatedly ignored Court orders to draw new district lines, nor has it, during

 a remedial process, drawn maps deemed to be unconstitutional. Rather, the

 Council is responding to the first legal challenge – ever – to any of its

 redistricting decisions, 2 and has been responsive to Plaintiffs’ requests and

 queries since the onset of litigation. Plaintiffs may not like the district lines

 drawn by the Council, and may disagree with the legal positions and time lines

 proffered in these initial phases of litigation.                   However, Plaintiffs’

 disagreements with the Council’s positions do not warrant the suggestion that

 the Council is intransigent or that it does not “take its Fourteenth Amendment

 obligations seriously.” Doc. 39 at 1. The Court should therefore reject this

 argument out of hand.

        The Court should similarly reject Plaintiffs’ position that elections are

 not imminent. While the March 2023 elections are several months away, the

 City’s election machinery is already well in gear. See Merrill v. Milligan, 142


 2 In the instant case, and without any legal challenge or court ruling indicating otherwise,
 the Council began its redistricting process from the uncontested posture that the lines drawn
 in 2011 were constitutional, and therefore the Council only needed to make changes as
 required by population growth and distribution. Nor had the Council ever faced a legal
 challenge to its redistricting decisions after the 1990 or 2000 census cycles. As such, the
 Council reasonably began its line drawing process believing in the validity of the 2011 lines
 to which it sought to make minor changes.

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 S. Ct. 879, 880 (2022) (Kavanaugh, J., concurring) (discussing Purcell v.

 Gonzalez, 549 U.S. 1 (2006) principle); Reynolds v. Sims, 377 U.S. 533, 585

 (1964). See also generally Moore v. Harper, 142 S. Ct. 1089, 1089 (2022)

 (Kavanaugh, J., concurring); Repub. Nat’l Comm. v. Demo. Nat’l Comm., 140

 S. Ct. 1205, 1206-07 (2020); League of Women Voters of Fla., Inc. v. Fla. Sec. of

 State, 32 F. 4th 1363, 1370-1372 (11th Cir. 2022); League of United Latin Am.

 Cit., 2022 WL 1410729 at *30-32; Palmer v. Hobbs, No. C22-5035RSL, 2022

 WL 1102196, at *2 (W.D. Wash. April 13, 2022); Alpha Phi Alpha Frat. Inc. v.

 Raffensperger, No. 1:21-cv-5337-SCJ, 2022 WL 633312, at *74-76 (N.D. Ga.

 Feb. 28, 2022); Pileggi v. Aichele, 843 F. Supp. 2d 584, 592-94 (E.D. Pa. 2012);

 Smith, 946 F. Supp. at 1212. In such settings, courts veer away from granting

 plaintiffs’ requested relief. See Merrill, 142 S. Ct. at 880-81 (Kavanaugh, J.,

 concurring); League of Women Voters of Fla., Inc., 32 F. 4th at 1370-1372;

 League of United Latin Am. Cit., 2022 WL 1410729 at *30-32; Palmer, 2022

 WL 1102196 at *2-4; Alpha Phi Alpha Frat. Inc., 2022 WL 633312 at *74-76;

 Pileggi, 843 F. Supp. 2d at 592-94; Smith, 946 F. Supp. at 1212.

       Here, the deadline for candidates to establish residency in the district

 they seek to represent passed in July, prior to Plaintiffs seeking injunctive

 relief. Doc. 41 at 30-31. Likewise, individuals who wish to qualify through the

 petition process are currently collecting signatures. Id. at 31-32. Any “chaotic

 [and] last-minute reordering” of the districts, therefore, could result in

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 “significant cost, confusion, or hardship” to voters, candidates, and the City.

 Merrill, 142 S. Ct. at 881 (Kavanaugh, J. concurring); Alpha Phi Alpha Frat.

 Inc., 2022 WL 633312 at *75; see also Doc. 40-32. Moreover, any urgency

 related to imminent or passed election deadlines is a result of the Plaintiffs’

 delay in bringing this action and seeking relief. See Flores v. Town of Islip, 382

 F. Supp. 3d 197, 250 (E.D.N.Y. 2019). Plaintiffs therefore wrongly contend

 that the March 2023 elections are distant enough that implementing new lines

 is possible, and they overlook that any Purcell timing problems are of their own

 making. See Doc. 39 at 6 n.1, 8.

        Plaintiffs – without support – further surmise it would pose little to no

 difficulty for the Council to craft new lines in twenty-one days, 3 and suggest

 that this timeline is “generous to Defendants relative to what other courts have



 3
  In an attempt to justify their twenty-one day schedule, Plaintiffs point to an example of the
 Council’s speedy passage of legislation associated with the August 2022 special elections.
 Doc. 39 at 7. It is one thing to pass legislation requiring the Council to set into motion settled
 and established election machinery. It is an entirely different matter, however, to require
 the Council to completely dismantle and then rebuild that machinery in a compressed time.
         In the instant case, the Council declined to expedite the redistricting process in order
 to ensure full transparency and citizen participation, resulting in a seven-month process. See
 generally Doc. 40-2; Doc. 40-3; Doc. 40-31 at ¶¶19-20. Here, Plaintiffs suggest the Court to
 order the Council to do the opposite – fashion new lines in a hurried manner with limited
 public input, thereby exacerbating rather than alleviating concerns regarding transparency
 and citizen participation, while also risking mistakes and exposing the Council to future legal
 challenges. See also e.g., Phil Prazan, After Address Mistakes, Broward Election Officials
 Urge Voters to Check Information, (August 12, 2022), NBC6 SOUTH FLORIDA,
 https://www.nbcmiami.com/decision-2022/after-address-mistakes-broward-election-officials-
 urge-voters-to-check information/2834655/?_osource=db_npd_nbc_wtvj_eml_shr




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 done in similar situations.” Doc. 39 at 3, 5-6 (citing cases). Plaintiffs’ cited

 cases, however, are not at all similar to the instant matter. See Singleton v.

 Merrill, No. 2:21-cv-1291-AMM, 2022 WL 265001, at *81 (N.D. Ala. Jan. 24,

 2022) (legislature had “at least eleven illustrative remedial plans to consult”),

 stay granted on other grounds sub nom Merrill, 142 S. Ct 879 (2022); Calvin v.

 Jefferson Cty. Bd. of Comm’rs, 172 F. Supp. 3d 1292, 1325 (N.D. Fla. 2016)

 (short time frame warranted where plaintiffs submitted illustrative plan which

 expert deemed constitutional); Harris, 159 F. Supp. 3d at 627 (two week

 deadline set pursuant to state law); U.S. v. Osceola Cty., Fla., 475 F. Supp. 2d

 1220, 1230 (M.D. Fla. 2006) (plaintiffs’ expert previously presented several

 plan proposals to court); Larios v. Cox, 305 F. Supp. 2d 1335, 1341-42 (N.D. Ga.

 2004) (court rejected defendants’ objection to short remedial time frame, where

 defendants first raised concerns only after full discovery and trial); Veith v.

 Pa., 195 F. Supp. 2d 672, 675-76 (M.D. Pa. 2002) (during litigation, Defendants

 presented constitutional plan); Johnson, 926 F. Supp. at 1466, 1488, 1494-95

 (where legislature presented multiple plans to judicial panel selected to redraw

 district lines, but judicial panel’s final plan was deemed unconstitutional, it

 was reasonable to give the legislature short time frame to craft new district

 lines, as legislature had numerous proposed maps at its disposal).

       By contrast, the Council does not have at its immediate access numerous

 alternative maps representing a wholesale revision – as demanded by

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 Plaintiffs – of the challenged districts. See Doc. 39 at 9. Rather, when the

 Council took into account the City’s population growth and location of that

 growth pursuant to the 2020 census, the Council explicitly decided to start the

 redistricting process from the existing lines, and only made changes as needed

 therefrom. See Doc. 34-3 at 9; Doc. 34-10 at 2; Doc. 40-2 at 40-42, 61-62, 64-65;

 Doc. 40-13 at ¶¶ 8, 10, 12; Doc. 40-14 at ¶¶7-10; Doc. 40-23 at ¶8; Doc. 40-28

 at ¶¶7, 18; Doc. 40-31 at ¶¶ 21-22. Hence, the most recent redistricting process

 did not leave the Council with a trove of alternative plans to consider should

 the Court order it to draw new districts.

       In this context, the Council acknowledges Plaintiffs’ offer of access to

 their experts’ analysis and simulated plans, see Doc. 90 at 10 n.6, and may

 indeed take them up on the offer, if advisable. However, those simulations and

 data are not necessarily as robust as Plaintiffs suggest. See Doc. 41 at 22-26.

 Hence, even if the Council were to use Plaintiffs’ information as a starting

 point, it nonetheless requires careful review and critique. Defendants also

 need to employ the same care and deliberation when drawing new district lines

 so as to ensure that any new plan comports with the Voting Rights Act while

 also withstanding strict scrutiny review. See generally 52 U.S.C. § 10301;

 Bethune-Hill v. Va. State Bd. of Elections, 137 S. Ct. 788, 800-01 (2017).

       Plaintiffs further contend that any new plan must represent more than

 mere “tinker[ing] around the edges” of the challenged districts. Doc. 39 at 9.

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 Accordingly, while Plaintiffs have only challenged Districts 2, 7, 8, 9, 10, 12,

 and 14, see Doc. 1 at ¶¶264-65, any redistricting process may need to consider

 the entire City. For example, District 2 shares boundaries with Districts 1, 4,

 3 and 13.    See Doc. 40-1.    Likewise, District 11, which had the largest

 population growth and required the greatest changes to its borders, shares

 boundaries with Districts 3, 4, and 13. See Doc. 40-1; Doc. 40-13 at ¶¶9, 23.

 Accordingly, the Council may need to do more than only refashion the

 challenged districts. If the Court orders such a wholesale revisions, more time

 will be required.

       Plaintiffs’ twenty-one day deadline also overlooks that the Jacksonville

 Council is a part-time legislative body that must operate in compliance with

 local and state Sunshine Laws, as well as City Charter and Ordinance

 provisions, all of which add time to any redistricting process. See generally §§

 § 5.02, JACKS. CHARTER; §18 et seq., 15.101 et seq., 129.102, Jacksonville Ord.

 Code; https://www.coj.net/city-council. Likewise, if commanded to refashion its

 district lines, the Council will likely do so with newly elected representatives

 to Districts 7 and 9 – districts challenged in the instant litigation, but not in

 the most recent August 2022 election cycle. These new representatives will

 begin their tenures in the midst of the Council’s dismantling of the districts

 they were just elected to represent, while the Council must simultaneously



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 seek to comply with City incumbency protection requirements. See generally

 §§ 18.108, 18.110, Jacksonville Ord. Code.

       Finally, contrary to Plaintiffs’ allegations otherwise, see Doc. 43 at 8, 10,

 in no manner have Defendants backtracked or withdrawn from their

 representation that “in order to proceed with the 2022 general consolidated

 elections, the [SOE] needs to know the City Council district boundaries no later

 than Friday, December 16, 2022.” Doc. 24-1 at 2. If by that date, the SOE

 knows the boundaries, it will ensure that the March 2023 elections proceed

 accordingly, despite whatever hardship, undue burden, or confusion may

 result. Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring); Doc. 40-32.

 Regardless, Defendants’ point is that it will be nearly impossible for a newly-

 crafted and Court-approved district map to be in place by December 16, 2022,

 and even if it could be, the undue burdens, confusion and hardships associated

 with doing so weigh against implementing new lines at this time. Moreover, a

 large part of the associated impossibility and hardship is due to Plaintiffs’

 delay in requesting preliminary injunctive relief.

       Only in a perfect world, therefore, where the Court has nothing else on

 its calendar, immediately rules on this matter, and Defendants decline to seek

 a stay of the Court’s order pending any appeal, can new lines be established by




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 December 16, 2022. As the following tables demonstrate, 4 Plaintiffs fare best

 under a timeline where the City produces a map raising no objection from

 Plaintiffs, or where the City fails to produce a map, and the Court, rather than

 some other judicially designated entity, draws an interim remedial map to

 Plaintiffs’ liking. These timelines, however, do not take into account delays

 should Defendants seek a stay of the Court’s order pending appeal. Nor do the

 timelines consider that the Court might approve interim maps Plaintiffs find

 unacceptable thereby prompting Plaintiffs to appeal. Rather, pursuant to most

 of the timelines below, this matter will likely not be resolved before mid-

 December.

                              TABLE 1: CITY PRODUCES MAP
        Date                                Event/time frame
      9/20/2022                Court issues Order in favor of Plaintiffs
                                          (4 days after hearing)
     10/11/2022 5                  City produces new map (21 days)
     10/14/2022                City files supporting documents (3 days)
     10/20/2022                            Plaintiffs challenge
                                     (9 days from map production)
     10/27/2022                            Defendants respond
                                  (7 days after Plaintiffs’ objections)
      11/8/2022                      Evidentiary hearing (12 days)
 4 The tables were created for illustrative purposes only and Defendants do not suggest the
 Court, or any party, is bound to the timelines listed therein. Defendants selected the initial
 date of September 20, 2022, based on the September 16, 2022 hearing date for this matter.
 Defendants then selected deadlines that aligned with or were similar to those set out by
 Plaintiffs, which appear to represent calendar days, without consideration of weekends or
 holidays. Certainly, the Court could compress or expand these timelines as it sees fit. Should
 the timelines take into account weekends or federal holidays, the case could be pushed into
 January of 2023.
 5 Dates will be impacted if Defendants seek to stay the injunction pending appeal. The same

 is true should either party seek a stay pending appeal of any other order the Court may issue
 in this process.

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   11/15/2022         Court issues Order on map constitutionality (7 days)
   11/18/2022    If unconstitutional, parties brief whether Court or other party
                     draws new map – Option A or Option B below (3 days)
   11/23/2022       Hearing on whether Court or other party draws new map
                                             (5 days)
   11/26/2022     Court issues Order on who will draw new map – Option A or
                                     Option B below (3 days)
                      OPTION A: OTHER ENTITY DRAWS MAP
   12/3/2022                 Both parties submit proposals (7 days)
   12/6/2022                      Both parties respond (3 days)
   12/11/2022              Map proposal submitted to Court (5 days)
   12/18/2022              Parties challenge submitted map (7 days)
   12/25/2022                  Hearing on map proposals (7 days)
   12/30/2022                    Court orders final map (5 days)
                          OPTION B: COURT DRAWS MAP
   12/3/2022                 Both parties submit proposals (7 days)
   12/6/2022                      Both parties respond (3 days)
   12/13/2022                     Evidentiary hearing (7 days)
   12/19/2022                    Court orders final map (6 days)

                    TABLE 2: CITY FAILS TO PRODUCE MAP
       Date                             Event/time frame
    9/20/2022     Court issues Order in favor of Plaintiffs (4 days after hearing)
    10/11/2022                 City fails to produce map (21 days)
    10/14/2022    Parties brief whether Court or other designated party draw
                                        new map (3 days)
    10/19/2022     Hearing on whether Court or other party draws new map
                                            (5 days)
    10/22/2022    Court issues Order on who will draw new map – Option A or
                                    Option B below (3 days)
                    OPTION A: OTHER ENTITY DRAWS MAP
    10/29/2022               Both parties submit proposals (7 days)
    11/1/2022                     Both parties respond (3 days)
    11/6/2022              Map proposal submitted to Court (5 days)
    11/13/2022             Parties challenge submitted map (7 days)
    11/20/2022                 Hearing on map proposals (7 days)
    11/27/2022                   Court orders final map (7 days)
                         OPTION B: COURT DRAWS MAP
    10/29/2022               Both parties submit proposals (7 days)

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    11/1/2022                     Both parties respond (3 days)
    11/8/2022                     Evidentiary hearing (7 days)
    11/14/2022                   Court orders final map (6 days)

 In light of the above, the Court should reject Plaintiffs’ remedy proposal.

    III.   PROPOSED REMEDY

       Should the Court rule that the challenged districts violate the

 Constitution, the Plaintiffs are entitled to “vote as soon as possible for their

 representative under a constitutional apportionment plan.” Harris, 159 F.

 Supp. 3d at 627. However, a “quick plan . . . is not necessarily a good plan.”

 Alpha Phi Alpha Frat. Inc., 2022 WL 6333312 at *75. As previously discussed,

 Plaintiffs’ remedial structure has a tenuous legal foundation, lays out

 unrealistic timelines, and could result in a new plan prone to additional

 litigation.

       In this regard, voting rights litigation is complex and its resulting case

 law ever evolving. Benchmark cases provide the scaffolding for analyzing

 disputes, but those cases can be cited for various propositions and are often in

 conflict with one another. Compare e.g., Veasey v. Abbott, 830 F. 3d 216, 270

 (5th Cir. 2016) (Wise cited for proposition that courts should draw new district

 lines when legislature unresponsive or elections imminent); Wright v. Sumter

 Cty. Bd. of Elections and Regis., No. 1:14-cv-42 (WLS), 2020 WL 499615, at *3

 (M.D. Ga. Jan. 29, 2020) (same); Johnson, 926 F. Supp. at 1494 (same) with

 Walen v. Burgum, No. 1:22-cv-31, 2022 WL 1688746, at *6 (D.N.D. May 26,

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 2022) (Wise cited for proposition that legislature should have first opportunity

 to draw new district lines); Whitford, 2017 WL 383360 at *1 (same); Calvin,

 172 F. Supp. 3d at 1325 (same); Page, 2015 WL 3604029 at *18 (same); Larios,

 305 F. Supp. 2d at 1342 (same); Smith, 946 F. Supp. at 1213 (same). Compare

 also e.g., Wright, 2020 WL 499615 at *3 (Reynolds v. Sims, 377 U.S. 533 (1964)

 cited for proposition that elections should not be conducted under

 unconstitutional plan) with Gonidakis, 2022 WL 1175617 at *19 (Reynolds

 cited for proposition that where election machinery is in gear courts must let

 elections go forward under invalid plans); Alpha Phi Alpha Frat. Inc., 2022 WL

 633312 at *74-75 (same); Pileggi, 843 F. Supp. 2d at 593 (same); Smith, 946 F.

 Supp. at 1211 (same); Diaz, 932 F. Supp. at 465-66 (same).

       Likewise, with each generation of voting rights litigation, emerging

 jurisprudence eclipses older methodologies. See, e.g., Merrill, 142 S. Ct. at 878-

 82 (Kavanaugh, J., concurring) (discussing emergence and predominance of

 Purcell principle); League of United Latin Am. Cit., 2022 WL 1410729 at *32

 (noting judicial reluctance to alter election rules at last minute was “decades

 in the making”). Here, Plaintiffs have downplayed a body of ascendant legal

 reasoning that severely weakens their remedial analysis.

       In particular, Plaintiffs ignore the Reynolds and Purcell family of cases.

 Reynolds and Purcell guide that when election machinery is in gear and

 elections imminent, courts should refrain from mandating revision of election

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 laws so as to avoid “disruption and . . . unanticipated and unfair consequences

 for candidates, political parties, and voters . . . .” Merrill, 142 S. Ct. at 880

 (Kavanaugh, J., concurring); Reynolds, 377 U.S. at 585. See also e.g., League

 of Women Voters of Fla., Inc., 32 F. 4th at 1370-1372; League of United Latin

 Am. Cit., 2022 WL 1410729 at *30-32; Palmer, 2022 WL 1102196 at *2; Alpha

 Phi Alpha Frat. Inc., 2022 WL 633312 at *74-76; Pileggi, 843 F. Supp. 2d at

 592-94; Smith, 946 F. Supp. at 1212.

       Supreme Court dicta also directs that when parties find themselves in

 the midst of functioning election machinery and close to an election, where that

 closeness is because the plaintiffs delayed bringing suit, courts should be

 reticent to grant relief. Merrill, 142 S. Ct. at 881 (Kavanaugh, J., concurring).

 In such cases, elections may go forward, even if under plans deemed infirm.

 See, e.g., Upham v. Seamon, 456 U.S. 37, 44 (1982); Kilgarlin v. Hill, 386 U.S.

 120, 121 (1967); Roman v. Sincock, 377 U.S. 695, 709-10 (1964). Plaintiffs

 ignore this line of authority when implying that the pending March 2023

 elections and associated deadlines are of no concern. See Doc. 39 at 3-4, 7, 8-

 9. Rather, the law guides that when, as here, an election cycle is already in

 gear, courts should not mandate new district lines.

       Should, however, the Court rule in favor of Plaintiffs, the Council should

 have the first opportunity to cure any constitutional defects in the City’s

 district lines. The time line mandated for any cure must also take into account

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 the extent to which elections are imminent and attendant systems already in

 process. As noted elsewhere, although certain election deadlines have passed

 and others are rapidly approaching, Plaintiffs nonetheless chose to wait four

 months after the City’s enactment of the redistricting Ordinance to seek

 injunctive relief. Accordingly, Defendants propose the following:

        The Court should order that the March 2023 elections proceed under the

 current district lines. The Court should also order the Council to craft new

 lines pursuant to the City Charter and Ordinance Code, but within a

 reasonable time frame. Any plan would be subject to challenge by the Plaintiffs

 and final Court review.

        In this regard, the City Charter and Ordinance Code lay out a process,

 which at most, lasts eight months. See generally § 5.02, JACKS. CHARTER; §18

 et seq., Jacksonville Ord. Code. In compressing this time frame, Defendants

 suggest the following timeline of up to five months: 6 two and a half weeks to

 appoint a Redistricting Committee, establish criteria, retain experts, and

 collect/provide data for analysis; three weeks for experts to analyze the data

 and create map options; four weeks for the Committee to review the proposed

 maps, propose changes, and finalize the plans; three weeks for the Committee

 to conduct statutorily required public hearings, see §18.107(b), Jacksonville


 6
  A five-month timeline takes into account that Districts other than those challenged by the
 Plaintiffs may be affected by any remedial process. If the redistricting can be limited to only
 the challenged districts, the remedial process may only take three to four months.

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 Ord. Code; and two and a half weeks for the Committee to send a final plan to

 the full Council for approval. Id. at § 18.107(c). If the Council nonetheless fails

 or refuses to create a constitutional plan, the Court should, on its own, or by

 appointing a third party, draw new district lines, again with contributions from

 the parties and with appropriate timelines to allow for challenges and review.

    IV.   CONCLUSION

       If the Court rules in favor of Plaintiffs’ request for injunctive relief, the

 Council should have the first opportunity to draw new district lines. Because,

 however, certain March 2023 election deadlines have passed and others are

 imminent, the Court should order that the upcoming 2023 elections proceed

 under the current district lines but order the Council to draw new lines under

 a reasonably set time frame with accompanying process. Should the Council

 be unable or fail to draw a new district boundaries, the Court, or a judicially

 identified entity, should do so, again with feedback from the parties and subject

 to judicial review.

                                       Respectfully submitted,
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                           CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of August, 2022 a copy of
 this document was filed electronically through the CM/ECF system and
 furnished by email to all counsel of record.
                                              /s/ Mary Margaret Giannini
                                                  Attorney




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